      Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 1 of 38




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


 D.B.C. CORPORATION                              )
                                                 )
        Plaintiff,                               )
                                                 )
 v.                                              )
                                                   CIVIL ACTION NO: 4:22-cv-455
                                                 )
 RICHIN TRADING INC.                             )
                                                   JURY TRIAL DEMANDED
                                                 )
        Defendant.                               )
                                                 )
                                                 )
                                                 )

                                         COMPLAINT

       Plaintiff D.B.C. Corporation (“DBC” or “Plaintiff”), for its Complaint against Defendant

Richin Trading Inc. (“Richin” or “Defendant”), alleges and avers as follows:

                                 NATURE OF THE ACTION

       1.      This is an action to enjoin wrongful conduct and collect damages stemming from

Defendant’s pattern of acts of trademark infringement, trade dress infringement, dilution, and

unfair competition under the Lanham Act, as amended, 15 U.S.C. § 1051 et seq.; and trade mark /

trade dress infringement, and unfair competition under Texas law.

                                JURISDICTION AND VENUE

       2.      This Court has federal question jurisdiction over this action pursuant to 15 U.S.C.

§ 1121 and 28 U.S.C. § § 1331, 1338. DBC’s federal claims are predicated upon the Trademark

Act of 1946, as amended, 15 U.S.C. § 1501 et seq. 28 U.S.C. § 1367 gives this Court supplemental

jurisdiction over DBC’s state-law claim because that claim is substantially related to DBC’s

federal claims and arises out of the same constitutional case or controversy.


                                                 1
      Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 2 of 38




        3.      Defendant is a foreign corporation conducting business within the State of Texas,

by selling at least one infringing product subject to this action to a retailer in this judicial district.

This Court has personal jurisdiction over Defendant pursuant to Texas’s long-arm statute (Tex.

Civ. Prac. & Rem. Code § 17.042) and Federal Rule of Civil Procedure 4(k).

        4.      Venue is proper under, inter alia, 28 U.S.C. § 1391(b)(2) because “a substantial

part of the events or omissions giving rise to the claim occurred” in this “judicial district.”

                                               PARTIES

        5.      Plaintiff DBC is a Mississippi corporation with its principal place of business at

228 Industrial Drive North, Madison, Mississippi 39110. Plaintiff bakes, sells, and distributes

various lines of rolled wafer cookies lined with chocolate and/or filled with various crème fillings

marketed under the names “Pirouline” and “Crème de Pirouline” through retail and other outlets

across the continental United States (including in Texas) and Canada, as well as in Mexico, parts

of Central and South America, the Middle East, China, Japan, the Philippines, Australia, and other

countries or continents around the world.

        6.      Upon information and belief, Defendant is a California corporation, with its

principal place of business located at 400 S Date Ave., Alhambra, California 91803.

        7.      As further described below, Defendant is engaged in a pattern of selling and

distributing in the stream of commerce a number of products that infringe on DBC’s federally

registered trademark, as well as using packaging indicating that they contain products that infringe

on DBC’s federally registered trademark. This Court’s intervention is necessary to stop that

pattern of infringement.

        8.      DBC has obtained several of the products that Defendant’s online products

catalogue advertises for distribution and sale. DBC’s examination of those products shows that



                                                    2
      Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 3 of 38




both the products themselves, and their packaging, infringe DBC’s federally registered trademark,

as further shown below.

       9.      At least one retailer in this judicial district sells at least one of these products.

       10.     Defendant’s online products catalogue shows it distributes and sells many varieties

of other potentially infringing products in packaging that, from the catalogue’s images, infringes

on DBC’s federally registered trademark.

       11.     DBC has not yet been able to obtain exemplars of all of these products and

packaging. Some of the products have a stripe that infringers the trademark. As to the other

products, the catalogue’s pictures establish, at the very least, packaging indicating that Defendant

sells and distributes products infringing on DBC’s federally registered trademark. For some of

these products, which DBC has not yet obtained, it is possible that the products themselves infringe

DBC’s federally registered trademark or, on the other hand, that Defendant or others have

“photoshopped” or otherwise exaggerated some feature of the picture on the container or the

catalog to suggest that the products bear a stripe that infringes the mark. However, if a product

itself has only an indention or raised area on the surface of the wafer resulting from the

manufacturing process, but that has been photographed so as to indicate an infringing stripe, still

that false representation infringes on the trademark by attempt to capitalize on the trademark. Even

if examination of some products eventually showed show a particular product did not itself bear

an infringing mark, the representation infringes on DBC’s federally registered trademark.

       12.     Defendant’s catalogue shows Defendant has a pattern and practice, as well as a

continuing business plan, of selling and distributing products and packaging infringing on DBC’s

federally registered trademark.




                                                   3
      Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 4 of 38




       13.     As further described below, only the remedies DBC seeks, including injunctive

relief, will stop Defendant’s pattern, practice, and continuing business plan of infringement.

                             FACTS COMMON TO ALL COUNTS

                          DBC CORPORATION AND DBC’S RIGHTS

       14.     Plaintiff DBC is a unique company, tracing its humble roots back to 1860’s

Belgium, where the De Beukelaer family first began baking. In the early 1980’s, a member of the

original De Beukelaer family, Peter De Beukelaer, moved to the United States, bringing with him

over 150 years of family heritage, knowledge, and skill baking premium specialty cookies. Mr.

De Beukelaer founded D.B.C. Corporation and continued producing the “Pirouline” rolled wafer

cookie and chocolate-lined rolled wafer cookie in the United States. In the early 1990’s, D.B.C.

began producing sweet rolled wafer cookies with crème under the name “Crème de Pirouline.”

DBC continues to make, market and sell all of these Pirouline products today.

       15.     DBC has invested substantial time, effort, and money into building, developing,

and maintaining its brands and its products, including the Pirouline and Crème de Pirouline rolled

wafer cookies, which it has popularized worldwide. Today, DBC is the exclusive producer of the

Pirouline products, which have expanded to include dark chocolate, chocolate hazelnut, and vanilla

flavors, as well as seasonal strawberry and lemon flavors.

       16.     DBC currently owns U.S. Trademark registrations for the use of the distinctive

marks “PIROULINE” and “CRÈME DE PIROULINE” in connection with the marketing, sale,

and distribution of its premium specialty rolled cookie products.

       17.     DBC has also used and exhibited a certain distinctive trade dress in connection with

the marketing, sale, and distribution of the Pirouline artisan rolled wafer since the product was first

created. The Pirouline trade dress consists of a helical line formed in and extending the length of



                                                  4
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 5 of 38




a cylindrical cookie, in a color which contrasts with the cookie (the “Helical Stripe Mark”).

Example images are reproduced below, for the Court’s reference:




       18.    DBC owns U.S. Trademark Registration No. 1,634,930 for the distinctive Helical

Stripe Mark associated with its Pirouline products, which has been registered with the United

States Patent and Trademark Office since 1991. See Exhibit 1 (United States Patent and Trademark


                                               5
      Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 6 of 38




Office, Trademark Electronic Search System (TESS) Registration Record (last updated Feb. 10,

2022)).

          19.   In addition to being a distinctive characteristic of the Pirouline products themselves,

DBC’s signature Helical Stripe Mark is also prominently displayed and promoted on the products’

packaging and promotional materials, as well as through DBC’s website and advertising, including

on the packaging for other DBC products, such as its seasonal lines. This Helical Stripe Mark is

well-known in the industry and widely associated with DBC and the products at issue.

          20.   DBC sells and distributes its Pirouline products through various third-party retail

stores and the internet, including its own company website, through which it offers for sale and

has sold the Pirouline products, as well as a wide variety of its other premium specialty cookie

products, throughout the United States and the world, including this judicial district. DBC has

been engaged in the sale and/or offering for sale of its products, including the Pirouline products,

continuously since the early 1980’s.

          21.   As a result of DBC’s extensive use and promotion of its distinctive Helical Stripe

Mark in connection with the Pirouline products, the mark has acquired substantial recognition

among the public, and the public associates the signature Helical Stripe Mark with DBC and its

products.

          22.   DBC’s Helical Stripe Mark is used and highlighted extensively in connection with

DBC’s advertising and promotional materials, on DBC’s website, and in various non-affiliated

retail stores (both brick and mortar and online) that sell DBC’s Pirouline and other products.

          23.   DBC has expended considerable resources to create and develop its unique Helical

Stripe Mark in connection with the marketing, sale, and distribution of its Pirouline products. As




                                                  6
      Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 7 of 38




a result of DBC’s substantial and significant sales, advertising, promotion and publicity, the

Helical Stripe Mark is recognized as emanating from, or being associated with DBC.

       24.     DBC’s Helical Stripe Trade Dress is distinctive and is recognized by members of

the consuming public as an indicator of high-quality products associated with DBC.

       25.     With permission from DBC, the Pirouline products, featuring the distinctive Helical

Stripe Mark, have appeared or been used in connection with various other products sold by some

of the largest retailers/manufacturers in the US and Canada, but each time with the disclaimer that

the Helical Stripe Mark is a registered trademark of DBC.

             DEFENDANT RICHIN TRADING INC, AND ITS INFRINGING ACTS

       26.     According to Defendant’s website (www.richintrading.com) as of the date of this

Complaint’s filing, Defendant is a “Specialist in Canned and Dry Food Wholesale Since 1989.”

       27.     Defendant sells and distributes various food products, at least in part through its

publicly available online products catalogue, which its website represents is a “list of our

products.” This catalogue is attached as Exhibit 2 to this Complaint. See generally Exhibit 2

(Richin Trading Inc. Products Catalogue, publicly available at http://www.richintrading.com/wp-

content/uploads/2021/08/CATALOG-NO-UPC.pdf as of the date of this Complaint’s filing).

       28.     It is unclear to DBC whether this online products catalogue represents a complete

listing of the products Defendant sells and distributes in the stream of commerce.

       29.     Based on the images available in Defendant’s online products catalogue and DBC’s

pre-suit investigation, numerous products, including at the very least the following cylindrical

rolled wafer cookie products and associated packaging, marketed, sold, and distributed by

Defendant in the stream of commerce, are subject to this action:




                                                7
         Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 8 of 38




          a. “UeNo Dora Magical Tales” “egg roll” products in a variety of flavors, including

chocolate, strawberry, coconut, coffee vanilla strawberry assortment, and coffee. See Exhibit 2 at

59–60.

          b. “Wafer Sticks” marketed and sold with the name “Hello Kitty Poppipe.” See Exhibit 2

at 66.

          c. DBC refers to the “UeNo Dora Magical Tales” and “Hello Kitty Poppipe” products

collectively as the “Known Infringing Products.”

          30.    Exhibit 3 to this Complaint shows pictures of Known Infringing Products and their

packaging, taken during DBC’s pre-suit investigation. The Known Infringing Products are the

ones DBC has been able to obtain and confirm infringe. These pictures are reproduced below for

this Court’s convenience. See Exhibit 3.




                                                 8
Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 9 of 38




         KNOWN INFRINGING PRODUCT: Ueno Dora Magical Tales




                                 9
Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 10 of 38




          KNOWN INFRINGING PRODUCT: Ueno Dora Magical Tales




                                 10
Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 11 of 38




            KNOWN INFRINGING PRODUCT: Hello Kitty Poppipe




                                 11
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 12 of 38




       31.     Like DBC’s Pirouline and Crème de Pirouline products, Defendant’s Known

Infringing Products exhibit a helical stripe extending the length of a cylindrical cookie, in a color

contrasting with the cookie (the “Infringing Trade Dress”).

       32.     After DBC invested substantial time, effort, and expense in developing, marketing,

and attaining extensive sales of its Pirouline products with the Helical Stripe Mark, Defendant

began offering to sell and marketing and selling similar cylindrical rolled wafer cookie products

(i.e., the Known Infringing Products) which it marketed and sold to substantially similar

consumers.

       33.     At least one retailer in this judicial district sells the “Hello Kitty Poppipe” Known

Infringing Product to the consuming public.

       34.     Defendant’s online products catalogue offers to sell and distribute the UeNo Dora

Magical Tales Known Infringing Products in several flavors and types of packaging.

       35.     DBC has thus far obtained the chocolate flavor of the UeNo Dora Magical Tales

Egg Rolls Known Infringing Product, in two different types of packaging (plastic tin; cardboard

box). As Exhibit 3 demonstrates, the products themselves look identical, and they infringe DBC’s

Helical Stripe Mark, as does the packaging for each.

       36.     Upon information and belief, the various other products in the UeNo Dora Magical

Tales Egg Rolls line (i.e., the other flavors), which Defendant sells and distributes through its

online products catalogue, will all likewise infringe DBC’s Helical Stripe Mark, as will their

packaging.

       37.     The flavors in which Defendant offers its Known Infringing Products overlap with

those DBC offers for its Crème de Pirouline cookies.




                                                 12
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 13 of 38




       38.    As stated, Exhibit 2 to this Complaint provides Defendant’s publicly available

online product catalogue. The catalogue shows images of products’ packaging that Defendant

advertises for sale and distribution. From Exhibit 2, DBC reproduces products in the same UeNo

Dora Magical Tales line, just in different packaging and/or flavors from the UeNo Dora Magical

Tales products DBC has thus far obtained. See Exhibit 2.

                 KNOWN INFRINGING PRODUCT: Ueno Dora Magical Tales




                                              13
Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 14 of 38




          KNOWN INFRINGING PRODUCT: Ueno Dora Magical Tales




                                 14
Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 15 of 38




          KNOWN INFRINGING PRODUCT: Ueno Dora Magical Tales




                                 15
Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 16 of 38




          KNOWN INFRINGING PRODUCT: Ueno Dora Magical Tales




                                 16
Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 17 of 38




          KNOWN INFRINGING PRODUCT: Ueno Dora Magical Tales




          KNOWN INFRINGING PRODUCT: Ueno Dora Magical Tales

                                 17
Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 18 of 38




                                 18
Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 19 of 38




          KNOWN INFRINGING PRODUCT: Ueno Dora Magical Tales




                                 19
Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 20 of 38




          KNOWN INFRINGING PRODUCT: Ueno Dora Magical Tales




                                 20
        Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 21 of 38




         39.     The packaging for at least one of the Known Infringing Products also bears a

California Proposition 65 warning that “Consuming this product can expose you to chemicals

including Lead and Cadmium, which are known to the State of California to cause cancer and birth

defects, or other reproductive harm. For more information go to www.P65Warnings.ca.gov/food”;

or, on other product packaging, “Consuming this product can expose you to chemicals including

Lead, Cadmium, and Acrylamide, which are known to the State of California to cause cancer and

birth     defects,   or   other   reproductive   harm.     For   more    information    go    to

www.P65warnings.ca.gov/food.” Exhibit 4 (reproduced below for convenience):

                     KNOWN INFRINGING PRODUCT: Ueno Dora Magical Tales




                                                 21
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 22 of 38




                  KNOWN INFRINGING PRODUCT: Ueno Dora Magical Tales




       40.    Defendant offers the Known Infringing Products for sale and distribution in

packaging prominently displaying a helical stripe on a rolled wafer cookie product that infringes

on DBC’s federally registered trademark.

       41.    Upon information and belief, given the known sales of the “Hello Kitty Poppipe”

Infringing Product at a retailer in this judicial district, DBC expects discovery will uncover

Defendant’s sales and distribution of the Known Infringing Products, and potentially other

infringing products not presently known, to retailers throughout the United States and in Texas,

including episodic sales to various individual local specialty retailers. Upon information and


                                               22
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 23 of 38




belief, due to their episodic nature, Defendant’s sales and distribution to these individual local

specialty retailers are not otherwise easily documented.

           42.     Defendant’s online product catalogue also offers for sale and distribution in the

stream of commerce various rolled wafer cookie products in packaging prominently and

impermissibly displaying DBC’s federally registered trademark. These products, listed below, are

also subject to this action, at the very least due to this infringing packaging.

           a. “Assorted Cookies” marketed and sold with the names “I do” and “Lover.” See Exhibit

2 at 64.

           b. “Assorted Biscuits” marketed and sold with the name “Celebrity.” See Exhibit 2 at 68.

           c. “Cookies Gift Box” marketed and sold with the name “Euro Tea Time.” See Exhibit 2

at 68.

           d. DBC refers to the “I do,” “Lover,” “Celebrity,” and “Euro Tea Time” packaging

collectively as the “Known Infringing Packaging.”

           e.    The images of the Known Infringing Packaging, as Defendant’s online products

catalogue shows them, are reproduced below for the Court’s convenience. See Exhibit 2. For

clarity, these are products DBC has not yet obtained but which Defendant’s catalogue markets

with packaging that either infringes on DBC’s federally registered trademark or has been

Photoshopped or otherwise edited to make it appear so.




                                                  23
Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 24 of 38




          KNOWN INFRINGING PACKAGING: I do Assorted Cookies




                                 24
Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 25 of 38




         KNOWN INFRINGING PACKAGING: Lover Assorted Cookies




                                 25
Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 26 of 38




        KNOWN INFRINGING PACKAGING: Celebrity Assorted Biscuits




                                 26
Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 27 of 38




     KNOWN INFRINGING PACKAGING: Euro Tea Time Cookies Gift Box




                                 27
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 28 of 38




       43.     Like the packaging for DBC’s Pirouline and Crème de Pirouline products, the

Known Infringing Packaging prominently displays the helical stripe on a rolled wafer cookie

product.

       44.     Upon information and belief, DBC expects discovery will reveal whether the rolled

wafer cookie products Defendant sells and distributes in the Known Infringing Packaging

themselves also infringe DBC’s federally registered trademark by using the Infringing Trade

Dress; or if Defendant has just photoshopped or otherwise edited the product packaging to make

it appear as if the products themselves bear DBC’s federally registered trademark.

       45.     Even if examination of any of the actual cylindrical rolled wafer cookie products

Defendant sells and distributes in the Known Infringing Packaging revealed the cookie product

itself did not bear an infringing helical stripe, the packaging would remain an infringement of

DBC’s federally registered trademark because the packaging prominently displays the Infringing

Trade Dress.

       46.     After DBC invested substantial time, effort, and expense in developing, marketing,

and attaining extensive sales of its Pirouline products in packaging using the Helical Stripe Mark,

Defendant began offering to sell and marketing and selling similar cylindrical rolled wafer cookie

products, which it marketed and sold to substantially similar consumers, in packaging also using

DBC’s Helical Stripe Mark.

       47.     Upon information and belief, DBC expects discovery will uncover Defendant’s

sales and distribution of the products in the Known Infringing Packaging, and potentially other

infringing packaging not presently known, to retailers throughout the United States and in Texas,

including episodic sales to various individual local specialty retailers. Upon information and




                                                28
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 29 of 38




belief, due to their episodic nature, Defendant’s sales and distribution to these individual local

specialty retailers are not otherwise easily documented.

       48.     Defendant’s use of a helical stripe extending the length of the Known Infringing

Products and Known Infringing Packaging infringes on DBC’s protected rights in its registered

Helical Stripe Mark.

       49.     As Defendant’s online product catalogue, the Known Infringing Products, and the

Known Infringing Packaging all demonstrate, Defendant is engaged in a pattern and practice of

selling and distributing in the stream of commerce products and packaging infringing upon DBC’s

Helical Stripe Mark.

       50.     Upon information and belief, based on what DBC is presently able to understand

from the Known Infringing Products’ labeling and the Known Infringing Packaging, Defendant is

engaged in a pattern of selling and distributing the Known Infringing Products and products in the

Known Infringing Packaging in the U.S. stream of commerce for various foreign manufacturers,

whose precise legal identities are presently unknown.

       51.     Upon information and belief, Defendant may also be selling and distributing other

infringing products or other products in infringing packaging, not presently identifiable from

Defendant’s online product catalogue, to various retailers in the stream of commerce, for various

foreign manufacturers whose precise legal identities are presently unknown.

       52.     Both Defendant and DBC transact business through interstate commerce.

       53.     Upon information and belief, Defendant is and has been aware of DBC’s federal

registration for the Helical Stripe Mark; and its creation, sale, and/or use of the Infringing Trade

Dress has been done willfully in an effort to impermissibly copy DBC’s Helical Stripe Mark, to




                                                29
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 30 of 38




trade on the goodwill created by DBC in its registered mark, and to mislead customers into

believing there is an association between Defendant and DBC.

         54.   Defendant’s pattern of appropriating DBC’s trade dress is likely to cause confusion,

mistake, or deception as to the source or origin of Defendant’s products because of the similarity

of the helical stripe design and the relatedness of Defendant’s products to those of DBC.

         55.   Indeed, a consumer blog post, reviewing one of the Known Infringing Products,

describes that product as “sort of an Asian version of [P]irouline.” Exhibit 5 (UeNo Dora Magical

Tales:    Coconut Flavoured Egg Rolls – review, Marga’s Food Blog (Nov. 11, 2020),

https://www.marga.org/foodblog/2020/11/ueno-dora-magical-tales-coconut-flavoured-egg-rolls-review/.)

         56.   Upon information and belief, Defendant, by its willful conduct, has made and will

continue to make substantial profits and gains to which it is not entitled by law or equity.

         57.   Because of Defendant’s demonstrated propensity to engage in a pattern, practice,

and business plan of infringing conduct, DBC has suffered and will continue to suffer damage

unless enjoined by this Court. DBC is without an adequate remedy at law and is suffering

irreparable harm.

         58.   DBC lacks an adequate legal remedy, and is suffering irreparable harm, for many

reasons. Absent an injunction, Defendant will be able to continue selling and distributing

infringing products using infringing packaging. This will cause continuing confusion among

consumers and will also weaken DBC’s federally protected trademark. Moreover, only an

injunction will prevent Defendant from being able to act on its demonstrated propensity to sell and

distribute new infringing products and/or using new infringing packaging. Without an injunction,

DBC would be required to continuously file new lawsuits each time Defendant does so.




                                                 30
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 31 of 38




        59.     Only the relief DBC seeks from this Court, further described below, will stop

Defendant’s pattern, practice, and business plan of selling and distributing the Known Infringing

Products, and any other infringing products or packaging Defendant may also be selling and

distributing.

        60.     Only the relief DBC seeks from this Court, further described below, will stop

Defendant’s pattern, practice, and business plan of settling and distributing products in the Known

Infringing Packaging, and any other infringing products or packaging Defendant may also be

selling and distributing.

                                             COUNT I

                        FEDERAL TRADEMARK INFRINGEMENT
                        Section 32 of the Lanham Act, 15 U.S.C. § 1114

        61.     DBC re-alleges and incorporates by reference all of the allegations set forth in all

preceding paragraphs as if fully set forth herein.

        62.     Defendant’s use of the Infringing Trade Dress, on both the products it sells and

distributes and the packaging in which it does so, is likely to cause confusion, mistake, or deception

among customers and the public with DBC’s U.S. Trademark Registration No. 1,634,930,

including but not limited to confusion, mistake, or deception as to the source or origin of

Defendant’s products, in that consumers are likely to believe that Defendant or its products are

legitimately connected with DBC.

        63.     Defendant has used the Infringing Trade Dress without DBC’s consent.

        64.     As detailed above, Defendant has created, marketed, and/or sold products that look

nearly identical to DBC’s Pirouline and Crème de Pirouline artisan rolled wafers and exhibit trade

dress that is confusingly similar to DBC’s federally registered trade mark, in violation of 15 U.S.C.

§ 1114; and unless prohibited by this Court, Defendant’s activities are likely to cause confusion

                                                 31
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 32 of 38




and deception to members of the trade and the public, as well as injury to DBC’s goodwill and

reputation as symbolized by its federally registered marks, for which DBC has no adequate remedy

at law.

          65.   Defendant’s actions demonstrate an intentional, willful, and malicious intent to

trade on the goodwill associated with DBC’s federally registered trademark to DBC’s irreparable

injury.

          66.   Defendant has caused and is likely to continue causing substantial injury to the

public and to DBC, and DBC is entitled to injunctive relief and to recover Defendant’s profits,

actual damages, enhanced profits and damages, costs, and reasonable attorney’s fees under 15

U.S.C. § § 1114, 1116, and 1117.

                                             COUNT II

          TRADE DRESS INFRINGEMENT, FALSE DESIGNATION OF ORIGIN,
                   PASSING OFF, AND UNFAIR COMPETITION
                 (Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a))

          67.   DBC re-alleges and incorporates by reference the allegations set forth in all

preceding paragraphs as if set forth in full herein.

          68.   DBC’s Helical Stripe Mark is entitled to protection because it is inherently

distinctive and non-functional and/or has acquired distinctiveness.

          69.   Defendant’s use of the nearly identical Infringing Trade Dress is likely to cause

confusion with DBC’s federally registered Helical Stripe Mark.

          70.   Defendant’s use of the Infringing Trade Dress constitutes false designation of origin

or sponsorship of Defendant’s products and tends falsely to represent that Defendant’s products

originate from DBC or that Defendant’s products have been sponsored, approved, or licensed by

DBC or are in some way affiliated or connected with DBC.



                                                  32
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 33 of 38




          71.   Defendant’s conduct is likely to confuse, mislead, and deceive Defendant’s

customers, purchasers, and members of the public as to the origin of Defendant’s products or cause

said persons to believe that Defendant’s products and/or Defendant have been sponsored,

approved, authored, or licensed by DBC, or are in some way affiliated or connected with DBC, all

in violation of 15 U.S.C. § 1125(a).

          72.   Defendant’s actions demonstrate an intentional, willful, and malicious intent to

trade on the goodwill associated with DBC’s federally registered trademark to DBC’s irreparable

injury.

          73.   Defendant has caused and is likely to continue causing substantial injury to the

public and to DBC, and DBC is entitled to injunctive relief and to recover Defendant’s profits,

actual damages, enhanced profits, and damages, costs, and reasonable attorney’s fees under 15

U.S.C. § § 1114, 1116, and 1117.

                                            COUNT III

                                  TRADEMARK DILUTION
                     (Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c))

          74.   DBC re-alleges and incorporates by reference the allegations set forth in all

preceding paragraphs as if set forth in full herein.

          75.   DBC owns the Helical Stripe Mark.

          76.   DBC’s Helical Stripe Mark, registered on the USPTO Principal Register, is non-

functional and is famous, as “famous” is used in 15 U.S.C. § 1125(c), due to its inherent or

acquired distinctiveness, and the duration, extent, and geographic reach of advertising, publicity

of the mark, and sales of the Pirouline and Crème de Pirouline products featuring the mark. By

way of example, DBC sells its products featuring the Helical Stripe Mark throughout the United

States. DBC also advertises its products featuring the Helical Stripe Mark throughout the United

                                                  33
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 34 of 38




States. Furthermore, DBC’s Helical Stripe Mark was famous before Defendant’s first use of the

Infringing Trade Dress, based on, among other things, DBC’s extensive nationwide use,

advertising, promotion, and recognition of the Helical Stripe Mark.

       77.     As described above, the Helical Stripe Mark is distinctive.

       78.     Like DBC’s products, the Known Infringing Products are cylindrical cookies.

       79.     The similarity between DBC’s Helical Stripe Mark and the helical stripe on

Defendant’s Known Infringing Products gives rise to an association between the two marks.

       80.     The similarity between DBC’s Helical Stripe Mark and the helical stripe on

Defendant’s Known Infringing Packaging gives rise to an association between the two marks.

       81.     Defendant’s actions, as described above, are likely to dilute the distinctive quality

of DBC’s Helical Stripe Mark by blurring, in violation of Section 43(c) of the Lanham Act, 15

U.S.C. § 1125(c), as amended by the Trademark Dilution Revision Act of 2006.

       82.     Defendant’s actions, as described above and including the warning that

consumption of at least one Known Infringing Product may expose the consumer to known

carcinogens lead, cadmium, and acrylamide are also likely to dilute DBC’s Helical Stripe Mark by

tarnishing the Helical Stripe Mark’s reputation, in violation of Section 43(c) of the Lanham Act,

15 U.S.C. § 1125(c), as amended by the Trademark Dilution Revision Act of 2006.

                                            COUNT IV

              TRADMARK INFRINGEMENT ANDUNFAIR COMPETITION
                        UNDER TEXAS COMMON LAW

       83.     DBC re-alleges and incorporates by reference the allegations set forth in all

preceding paragraphs as if set forth in full herein.

       84.     DBC’s Helical Stripe Mark is eligible for protection, as it identifies and

distinguishes DBC’s goods from those of others.

                                                  34
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 35 of 38




        85.     DBC is the senior user of the Helical Stripe Mark vis-à-vis Defendant.

        86.     Defendant’s actions, as described above, are likely to cause confusion or mistake,

or to deceive the public, as to an affiliation, connection, or association between DBC and

Defendant.

        87.     Defendant’s actions, as described above, are likely to cause confusion or mistake,

or to deceive the public, as to the origin, sponsorship, or approval of Defendant, the products it

sells, its services, or its commercial activities.

        88.     Defendant’s actions constitute infringement of DBC’s rights in its Helical Stripe

Mark, misappropriation of DBC’s goodwill in the mark, and trademark infringement and unfair

competition under Texas common law.

        89.     Defendant’s actions as described above constitute material misrepresentations as to

its affiliation, connection, or association of Defendant with DBC, or as to the origin, sponsorship,

or approval of DBC, its products, its services, and its commercial activities by or with DBC. These

material misrepresentations have caused or are likely to cause diversion of trade or harm to the

goodwill of DBC and constitute trademark infringement and unfair competition under Texas

common law.

        90.     As described, DBC is suffering ongoing injury from Defendant’s continuing

pattern, practice, and business plan of infringement and will continue to do so until Defendant is

enjoined from infringing on DBC’s Helical Stripe Mark.




                                                     35
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 36 of 38




                                        JURY DEMAND

       91.     Plaintiff DBC demands a trial by jury for all issues so triable.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff DBC respectfully requests that the Court enter judgment in its

favor on each Count set forth above and award it relief, including but not limited to the following:

       A.      An Order declaring that Defendant’s use of the Infringing Trade Dress, on the

Known Infringing Products, their packaging, the Known Infringing Packaging (as well as any other

infringing products and/or their packaging, to be identified in discovery) infringes and dilutes

DBC’s Helical Stripe Mark and constitutes unfair competition under federal and/or state law as

detailed above.

       B.      Preliminarily and permanently enjoin and restrain Defendant from:

               1.      using, registering, or seeking to register its Infringing Trade Dress or any

                       other marks, logos, designs, designations, or indicators that are confusingly

                       similar to or dilutive of DBC’s Helical Stripe Mark in manners likely to

                       cause confusion or dilution with DBC’s Helical Stripe Mark, including but

                       not limited to product packaging;

               2       representing by any means whatsoever, directly or indirectly, that

                       Defendant, or any products or services offered by Defendant or any

                       activities undertaken by Defendant, are associated or connected in any way

                       with DBC or sponsored by or affiliated with DBC in any way, including but

                       not limited to product packaging; and

               3.      doing any acts calculated or likely to cause confusion or mistake in the mind

                       of the public or the trade or to lead persons into the erroneous belief that



                                                36
     Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 37 of 38




                       Defendant or any of Defendant’s products are associated with DBC,

                       including but not limited to product packaging;

       C.       Direct Defendant to destroy all materials in its possession, custody, or control

which use or otherwise contain the Infringing Trade Dress, including all products, labels, tags,

boxes, signs, packages, forms, advertisements, bags, or other materials;

       D.       Require Defendant, under 15 U.S.C. § 1117, as well as Texas law, to account to

DBC for any and all profits derived by it, and for all damages sustained by DBC by reason of the

infringement;

       E.       Require Defendant, under 15 U.S.C. § 1117, as well as Texas law, to account to

DBC for any and all profits derived by it, and for all damages sustained by DBC by reason of

Defendant’s acts complained of herein;

       F.       Impose treble damages against Defendant for its willful trademark infringement,

under 15 U.S.C. § 1117;

       G.       Award DBC its reasonable attorney’s fees, costs, and disbursements incurred on

account of this civil action; and

       H.       Award DBC such other and further relief as the Court may deem just and proper.




                                               37
    Case 4:22-cv-00455 Document 1 Filed on 02/10/22 in TXSD Page 38 of 38




Dated: February 10, 2022

                                          Respectfully Submitted,




                                    By:    /s/ Robert H. Ford
                                           Robert H. Ford
                                           Federal ID No. 1392569
                                           Texas Bar No. 24074219
                                           rford@bradley.com
                                           600 Travis Street, Suite 4800
                                           Houston, Texas 77002
                                           (713) 576-0300 Telephone
                                           (713) 576-0301 Telecopier

                                           COUNSEL OF RECORD FOR
                                           PLAINTIFF, D.B.C. CORPORATION




                                     38
